
USCA1 Opinion

	













                                [Not For Publication]
                            United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit
                                 ____________________

        No. 96-1848

                                   JAMES A. MURRAY,

                                Plaintiff, Appellant,

                                          v.

                                   CITY OF BOSTON,

                                 Defendant, Appellee.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                  [Hon. George A. O'Toole, Jr., U.S. District Judge]
                                                ___________________

                                 ____________________

                                        Before

                           Stahl and Lynch, Circuit Judges,
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                            and Woodlock,* District Judge.
                                           ______________

                                 ____________________

            Mark  S.  Bourbeau, with  whom  Bourbeau  and Bourbeau  Bonilla  &amp;
            __________________              __________________________________
        Tocchio were on brief, for appellant.
        _______

            Krisna M.  Basu, Assistant Corporation  Counsel, with whom  Merita
            _______________  ______________________________             ______
        A. Hopkins, Corporation Counsel, was on brief, for appellee.
        __________  ___________________
                                 ____________________
                                  December 17, 1996
                                 ____________________
        ____________________
        *Of the District of Massachusetts, sitting by designation. 




















                      PER CURIAM.   Plaintiff James  Murray appeals  from
                      PER CURIAM

            the entry of summary judgment on his employment-related claim

            against  the City of Boston.  Murray, a former city employee,

            brought claims against  the City of  Boston and Mayor  Menino

            under  42 U.S.C.    1983 and  the Massachusetts  Civil Rights

            Act, Mass. Gen. L. ch. 12,   11I ("MCRA").

                      Murray  alleges that,  in 1992,  he was  terminated

            from his position as  Executive Assistant to the Commissioner

            for Elderly Affairs, and that, in 1994, he was constructively

            terminated  from his  subsequent position  as a  reporter for

            Boston   Seniority,   a   Commission   for   Elderly  Affairs
            __________________

            publication.   Murray  resigned from  the latter  position in

            March 1994.    Murray alleges  that these employment  actions

            were   punishment  for  expressing   his  political  beliefs,

            specifically for  running for City  Council in  1991 and  for

            Mayor in 1993 against the incumbent Mayor of Boston.

                      The district court granted summary judgment for the

            defendants  on all  claims.   Murray  appeals  only from  the

            judgment against him as  to the City.  Because Murray has not

            adduced evidence sufficient to establish  municipal liability

            under   1983, we affirm the district court's grant of summary

            judgment on that  claim.1  As Murray has failed  to show that

                                
            ____________________

            1.  Defendant also  argues that Murray was not constructively
            terminated  and that,  on the  merits, he  has not  shown any
            retaliation, much  less for  the expression of  his political
            views.  We find  it unnecessary to reach these  arguments but
            note that they appear well taken.

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            he was subject to  any threats, intimidation, or  coercion, a

            necessary  element of claims  under the MCRA,  we also affirm

            the grant of summary judgment on the state law claim.

                      In order to make out a claim of municipal liability

            under    1983, Murray  must  show that  the  "execution of  a

            government's policy  or custom, whether made  by lawmakers or

            by those whose edicts or acts may fairly be said to represent

            official  policy, inflicts the  injury."  Monell  v. New York
                                                      ______     ________

            Dep't of Social Servs., 436 U.S. 658, 694 (1978).  The theory
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            of respondeat superior has  no place in such claims.   Id. at
                                                                   ___

            691.  The "custom" on which liability is premised must be "so

            permanent  and well  settled as  to constitute  a 'custom  or

            usage' with the force  of law." Id. (quoting Adickes  v. S.H.
                                            ___          _______     ____

            Kress  Co., 398  U.S. 144,  167-68 (1970)(internal  quotation
            __________

            marks omitted)).   Murray does  not contend that  there is  a

            formal  act or  written policy  which embodies  the so-called

            policy of retaliation.   Nor does he contend that  "anyone in

            city government ever promulgated, or even articulated, such a

            policy."  City of  St. Louis v. Praprotnik, 485 U.S. 112, 128
                      __________________    __________

            (1988).  Rather, he says that there is  an informal policy or

            custom  of punishing  city  employees  who express  political

            views different than those of the administration.

                      This  court   had   said  that   there   are   "two

            requirements for  plaintiffs to meet in  maintaining a   1983

            action grounded upon an unconstitutional municipal custom":



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                           First,  the  custom or  practice  must be
                           attributable  to  the  municipality. .  .
                           .[I]t   must   be  so   well-settled  and
                           widespread    that    the    policymaking
                           officials of the municipality can be said
                           to  have  either  actual or  constructive
                           knowledge  of it  yet did nothing  to end
                           the  practice.   Second, the  custom must
                           have  been the  cause of  and  the moving
                           force    behind   the    deprivation   of
                           constitutional rights.

            Bordanaro v. McLeod, 871  F.2d 1151, 1156 (1st Cir.)(internal
            _________    ______

            citations omitted), cert. denied, 493 U.S. 820 (1989).
                                ____________

                      On the first point,  Murray naturally relies on his

            own employment history, which  need not be detailed  here, to

            support  his   claim  that  there  is   a  "well-settled  and

            widespread" custom.   But evidence of a  single occurrence is

            usually  insufficient,  in  and  of itself,  to  establish  a

            municipal  "custom  and  usage."   St.  Hilaire  v.  City  of
                                               ____________      ________

            Laconia, 71 F.3d 20, 29 (1st Cir. 1995), cert. denied, 116 S.
            _______                                  ____________

            Ct.  2548   (1996);  Mahan   v.  Plymouth  County   House  of
                                 _____       ____________________________

            Corrections, 64 F.3d 14, 16-17 (1st Cir. 1995). 
            ___________

                      Murray tries  to buttress his claim that there is a

            "custom" by pointing  to three lawsuits  filed in the  United

            States District  Court for the District  of Massachusetts and

            one  complaint  filed  before  the  Massachusetts  Commission

            Against Discrimination by present or  former city employees.2


                                
            ____________________

            2.  We   assume  arguendo  that  the  deposition  transcripts
                             ________
            proffered  by Murray  constitute admissible  evidence.    The
            City  argues that they are inadmissible hearsay.  See Garside
                                                              ___ _______
            v. Osco Drug, Inc., 895 F.2d 46 (1st Cir. 1990).
               _______________

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            There is  considerable doubt that three  individual law suits

            and   one  administrative  complaint,   even  if   each  made

            allegations comparable  to Murray's, would suffice  to show a

            custom with  the force of law.   But these other disputes are

            not  comparable to  the  present action  and  do not  involve

            similar  allegations  of  retaliation  because  of  political

            opposition  to the  incumbent  administration.   None of  the

            complaining individuals was,  from the evidence presented,  a

            candidate  for office.  Even if Murray's complaint is read to

            allege  a broader  theory  of retaliation,  encompassing more

            than  just retaliation  against  city employees  who run  for

            office  against incumbent  city  officials,  the  other  fact

            settings he proffers do  not support his claim that  there is

            such a custom or policy.

                      These  claims involve  diverse  city agencies,  and

            different city officials were responsible for  the employment

            actions at issue.  One  claimant makes allegations of  denial

            of due process  in how  his job was  terminated, one  alleges

            termination following  her criticism of her employing agency,

            one alleges  sexual harassment,  and one  alleges retaliation

            for speaking out against sexual  harassment.  Murray makes no

            attempt   to  link   these  various   claims  to   a  central

            policymaker.  These disparate facts  do not fall easily under

            even the  broader category of  a "custom"  of punishing  city





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            employees  for expression,  in any  form, of  political views

            contrary to those of the city administration.  

                      Such a protean view as that offered by Murray would

            render the  "custom" requirement  meaningless.   In  contrast

            with the  showing made here,  this court has  credited proof,

            such as that offered in Bordanaro, of uncontroverted evidence
                                    _________

            from witnesses  with first  hand knowledge  of a practice  of

            particular  city  officials who  repeatedly  engaged,  over a

            period of  time, in exactly the same sort of unconstitutional

            behavior.   See Bordanaro, 871 F.2d  at 1156.  As  we said in
                        ___ _________

            Mahan, plaintiff "has not brought his case near the Bordanaro
            _____                                               _________

            umbrella, let alone under it."  Mahan, 64 F.3d at 16.
                                            _____

                      To establish a claim under the MCRA, Mass. Gen.  L.

            ch.  12,     11I,  plaintiff  must  prove  that  the  alleged

            interference  or  attempted interference  with rights  was by

            "threats, intimidation or coercion."  Mass. Gen. L. ch. 12,  

            11H; Swanset Dev. Corp.  v. City of Taunton, 668  N.E.2d 333,
                 __________________     _______________

            337 (Mass. 1996).  The Supreme Judicial Court has said that:

                      "[t]hreat" in this  context involves  the
                      intentional exertion of pressure  to make
                      another fearful or apprehensive of injury
                      or harm.  "Intimidation" involves putting
                      in fear for the  purpose of compelling or
                      deterring  conduct. . .  . [A] definition
                      of  coercion  [is]  "the  application  to
                      another of such  force, either,  physical
                      or  moral,  as  to  constrain  him to  do
                      against his will  something he would  not
                      have done."





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            Planned  Parenthood  League v.  Blake,  631  N.E.2d 985,  990
            ___________________________     _____

            (Mass.),  cert.  denied,  115  S. Ct.  188  (1994)  (internal
                      _____________

            citations omitted).  Murray presents no evidence from which a

            court  could  conclude that  he  was  subjected to  "threats,

            intimidation, or  coercion" of  this nature.   Therefore, his

            state law claim fails on the merits as well.

                      The judgment of the district court granting summary

            judgment to the defendant on all claims is affirmed.
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